                                Case 25-12408-PDR                     Doc 10          Filed 03/09/25              Page 1 of 4
                                                              United States Bankruptcy Court
                                                               Southern District of Florida
In re:                                                                                                                 Case No. 25-12408-PDR
Milton R Nicholls                                                                                                      Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 113C-0                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Mar 07, 2025                                               Form ID: 309I                                                             Total Noticed: 19
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 09, 2025:
Recip ID                   Recipient Name and Address
db                         Milton R Nicholls, 4313 Whitewater Avenue, Weston, FL 33332-2412
97871419               +   Bank of America, Aldridge Pite, 5300 West Atlantic Avenue, #303, Delray Beach, FL 33484-8141
97871422               +   GenesisCare USA of Florida, P.O. Box 947152, Atlanta, GA 30394-7152
97871423               +   Hilton Resorts Corp/Orlando Vacation Sui, Attn: Bankruptcy, 3575 Las Vegas Blvd S, Las Vega, NV 89109-8919
97871424               +   Ophthalmogy Associates of S. Florida, 3100 Coral Hills Dr, #206, Coral Springs, FL 33065-4139
97871425               +   Sandra Miller-Sheriff DMD, 9720 Stirling Road, #211, Cooper City, FL 33024-8015
97871428               +   US Bank National, K&L Gates, LLP, 200 S. Biscayne Blvd, #3900, Miami, FL 33131-2370
97871429               +   Wells Fargo Bank, Brock & Scott, PLLC, 2001 NW 64 Street, #130, Fort Lauderdale, FL 33309-1855

TOTAL: 8

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: courts@jbristol.com
                                                                                        Mar 07 2025 23:15:00      John D. Bristol, Law Office of John D. Bristol,
                                                                                                                  1776 N. Pine Island Rd. #224, Plantation, FL
                                                                                                                  33322
tr                     + Email/Text: meetingofcreditors@ch13weiner.com
                                                                                        Mar 07 2025 23:16:00      Robin R Weiner, Robin R. Weiner, Chapter 13
                                                                                                                  Trustee, Post Office Box 559007, Fort Lauderdale,
                                                                                                                  FL 33355-9007
smg                    + Email/Text: swulfekuhle@broward.org
                                                                                        Mar 07 2025 23:16:00      Broward County Tax Collector, 115 S Andrews
                                                                                                                  Ave, Ft Lauderdale, FL 33301-1801
smg                        EDI: FLDEPREV.COM
                                                                                        Mar 08 2025 03:47:00      Florida Department of Revenue, POB 6668,
                                                                                                                  Bankruptcy Division, Tallahassee, FL 32314-6668
ust                    + Email/Text: USTPRegion21.MM.ECF@usdoj.gov
                                                                                        Mar 07 2025 23:19:00      Office of the US Trustee, 51 S.W. 1st Ave., Suite
                                                                                                                  1204, Miami, FL 33130-1614
97871417               + Email/PDF: bncnotices@becket-lee.com
                                                                                        Mar 08 2025 00:15:17      Amex, Correspondence/Bankruptcy, Po Box
                                                                                                                  981535, El Paso, TX 79998-1535
97871418               + EDI: BANKAMER
                                                                                        Mar 08 2025 03:47:00      Bank of America, Attn: Bankruptcy Dept, Po Box
                                                                                                                  26012, Greensboro, NC 27420-6012
97871420               + EDI: CITICORP
                                                                                        Mar 08 2025 03:47:00      Citi Card/Best Buy, Attn: Citicorp Cr Srvs
                                                                                                                  Centralized Bankr, Po Box 790040, St Louis, MO
                                                                                                                  63179-0040
97871421               + EDI: CITICORP
                                                                                        Mar 08 2025 03:47:00      Citibank, Citicorp Cr Srvs/Centralized
                                                                                                                  Bankruptcy, Po Box 790040, St Louis, MO
                                                                                                                  63179-0040
97871426               + Email/PDF: SoFiBKNotifications@resurgent.com
                                                                                        Mar 07 2025 23:52:19      SoFi Lending Corp, P.O. Box 654158, Dallas, TX
                                                                                                                  75265-4158
97871427                   EDI: TDBANKNORTH.COM
                                                                                        Mar 08 2025 03:47:00      TD Bank, Attn: Bankruptcy, 1701 Route 70 East,
                                                                                                                  Cherry Hill, NJ 08003

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District/off: 113C-0                                              User: admin                                                             Page 2 of 2
Date Rcvd: Mar 07, 2025                                           Form ID: 309I                                                         Total Noticed: 19

                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 09, 2025                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 7, 2025 at the address(es) listed
below:
Name                             Email Address
John D. Bristol
                                 on behalf of Debtor Milton R Nicholls courts@jbristol.com jbct2012@gmail.com,lawofficeofjohnbristol@jubileebk.net

Office of the US Trustee
                                 USTPRegion21.MM.ECF@usdoj.gov

Robin R Weiner
                                 auto-forward-ecf@ch13weiner.com


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 Information to identify the case:

                        Milton R Nicholls                                                          Social Security number or ITIN:   xxx−xx−8336
 Debtor 1:
                                                                                                   EIN: _ _−_ _ _ _ _ _ _
                        First Name    Middle Name     Last Name

 Debtor 2:                                                                                         Social Security number or ITIN: _ _ _ _
 (Spouse, if filing)    First Name    Middle Name     Last Name                                    EIN: _ _−_ _ _ _ _ _ _

 United States Bankruptcy Court:     Southern District of Florida                                  Date case filed for chapter:               13     3/6/25

 Case number:          25−12408−PDR
Notice of Chapter 13 Bankruptcy Case

For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See boxes 8 and 12 below
for more information.)
You may want to consult an attorney to protect your rights. The bankruptcy clerk's office staff cannot give legal advice.
To help creditors correctly identify debtors, debtors must submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.
WARNING TO DEBTOR: Debtors must commence plan payments within 30 days of filing the chapter 13 petition or conversion to chapter 13.
Without further notice or hearing the court may dismiss your case for failure to timely pay filing fee installments, failure to appear at the
meeting of creditors or failure to be current with plan payments at the time of the meeting of creditors, and for failure to file a pre−bankruptcy
certification of credit counseling or file wage documentation. The case may also be dismissed or converted at the scheduled confirmation
hearing if the court denies confirmation of the pending plan under 11 U.S.C. § 1325 and denies a request made for additional time for filing
another plan or a modification of a plan.
                                                    About Debtor 1:                                                       About Debtor 2:
 1. Debtor's Full Name                              Milton R Nicholls

 2. All Other Names Used
    in the Last 8 Years
                                                    4313 Whitewater Avenue
 3. Address                                         Weston, FL 33332−2412

    Debtor's Attorney                               John D. Bristol                                                       Contact phone 954−475−2265
                                                    Law Office of John D. Bristol
 4. (or Pro Se Debtor)                              1776 N. Pine Island Rd. #224
      Name and address                              Plantation, FL 33322

 5. Bankruptcy Trustee                              Robin R Weiner                                                        Contact phone 954−382−2001
      Name and address                              Robin R. Weiner, Chapter 13 Trustee
                                                    Post Office Box 559007
                                                    Fort Lauderdale, FL 33355

 6. Bankruptcy Clerk's                                                                                                    Hours open 8:30 a.m. − 4:00 p.m.
                                                    Federal Building
    Divisional Office Where                         299 E Broward Blvd, Room 112
                                                                                                                          Contact phone (954) 769−5700
    Assigned Judge is                               Ft Lauderdale FL 33301
    Chambered
      Documents filed conventionally in paper may be filed at any bankruptcy clerk's office location.                      Note: Contact the Clerk's Office at the number
      Documents may be viewed in electronic format via CM/ECF at any clerk's office public terminal                        listed above or check the court's website for
      (at no charge for viewing) or via PACER on the internet accessible at pacer.uscourts.gov                             reduced hours of operation for in−person
      (charges will apply). Case filing and unexpired deadline dates can be obtained by calling the                        filings.
      Voice Case Information System toll−free at (866) 222−8029. As mandated by the Department of
      Homeland Security, ALL visitors (except minors accompanied by an adult) to any federal building
      or courthouse, must present a current, valid, government issued photo identification (e.g. drivers'                  Clerk of Court: Joseph Falzone
      license, state identification card, passport, or immigration card.)                                                  Dated: 3/7/25

 7. **MEETING OF CREDITORS**                                                                                                         *MEETING TO BE HELD BY
     Debtors must attend the meeting to be April 18, 2025 at 03:30 PM                                                                  VIDEO CONFERENCE*
     questioned under oath. In a joint case,
     both spouses must be present with        The meeting may be continued or adjourned
     required original government−issued to a later date. If so, the date will be on the                               Go to www.Zoom.us, click on JOIN or call
     photo identification and proof of social court docket.                                                            (954) 399−6624, Enter Meeting ID 641 184
     security number (or if applicable, Tax                                                                            3541, and Passcode 9807786714
     ID). Creditors may attend, but are not
     required to do so.                                                                                                For additional meeting information
                                                                                                                       visit: www.justice.gov/ust/moc
Local Form 309I USBC SDFL (11/07/2023)                      Notice of Chapter 13 Bankruptcy Case                                                        page 1
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Debtor Milton R Nicholls                                                                                                        Case number 25−12408−PDR
8. Deadlines                             Deadline to file a complaint to challenge                               Filing deadline: 6/17/25
    The bankruptcy clerk's office        dischargeability of certain debts:
   must receive these
   documents and any required            You must file:
   filing fee by the following           • a motion if you assert that the debtors are
   deadlines. Writing a letter to           not entitled to receive a discharge under
   the court or judge is not                U.S.C. § 1328(f) or
   sufficient.                           • a complaint if you want to have a particular
                                            debt excepted from discharge under
                                            11 U.S.C. § 523(a)(2) or (4).
                                         Deadline for all creditors to file a proof of claim                     Filing deadline: 5/15/25
                                         (except governmental units):
                                         Deadline for governmental units to file a proof of                      Filing deadline: 9/2/25
                                         claim:

   When Filing Proofs of          Deadlines for Filing Proof of Claim:
   Claim: If the debtor is not     A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
   represented by an attorney,    www.flsb.uscourts.gov or any bankruptcy clerk's office. If you do not file a proof of claim by the deadline, you
   you must serve copies of the might not be paid on your claim. To be paid, you must file a proof of claim even if your claim is listed in the
   proof of claim including all   schedules that the debtor filed. If this is a converted case proofs of claim filed under the initial chapter shall be
   attachments on the debtor, via deemed filed and need not be refiled.
                                  Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
   U.S. Mail, see Local Rule      claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
   3002−1(E). Claims may be       For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
   delivered or mailed to the     including the right to a jury trial.
   clerk's office. Creditors with
   internet access have the       Filing Deadline for a Creditor with a Foreign Address: The deadlines for filing proofs of claim in this notice
                                  apply to all creditors. If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
   option to use the electronic   asking the court to extend the deadline to file a proof of claim. See also box 10 below.
   claims filing program on the
   court website at
   www.flsb.uscourts.gov to       Deadline to Object to Exemptions:                                         Filing deadline: 30 days after the
   electronically file a proof of The law permits debtors to keep certain property as exempt. Fully                             conclusion of the
   claim.                         exempt property will not be sold and distributed to creditors.                                meeting of creditors, or
                                         Debtors must file a list of property claimed as exempt. If you                               within 30 days of any
                                         believe that the law does not authorize an exemption that the                                amendment to the list
                                         debtors claim, you may file an objection.                                                    of supplemental
                                                                                                                                      schedules, unless as
                                         The bankruptcy clerk's office must receive the objection by                                  otherwise provided
                                         the deadline to object to exemptions.                                                        under Bankruptcy Rule
                                                                                                                                      1019(2)(B) and Local
                                                                                                                                      Rule 4003−1(B) for
                                                                                                                                      converted cases.

9. Filing of Plan and Hearing            The hearing on confirmation will be held on: 6/2/25 at 09:00 AM, at U.S. Courthouse, 299 E Broward Blvd
   on Confirmation                       #301, Ft Lauderdale, FL 33301. Review the judge's page on the Court's website for hearing requirements and
                                         remote attendance policy. If the debtor filed a Chapter 13 Plan, it is included with this notice. If no Plan is filed,
                                         the Plan will be mailed to ALL parties in accordance with Local Rule 2002−1(C)(5).
                                         At the confirmation hearing on the plan, the court will consider all timely objections to confirmation and any filed
   Deadline to Object to                 motions to dismiss or convert the case. Except for objections to confirmation based on valuation of collateral in
   Confirmation                          the plan or objections to attorney fee claims, objections to confirmation of the plan must be in writing and
                                         filed no later than 14 days prior to the date first scheduled for hearing on confirmation, see Local Rule
                                         3015−3(B)(1).
                                         Attorney fee applications and objections to attorney fees shall be heard at the confirmation hearing.

   Attorney Fee Claims
10. Creditors with a Foreign             Consult an attorney familiar with United States bankruptcy law if you have any questions about your rights in
    Address                              this case.

11. Filing a Chapter 13                  Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    Bankruptcy Case                      according to a Plan. A Plan is not effective unless the Court confirms it. You may object to Confirmation of the
                                         Plan and appear at the Confirmation hearing. The Confimation hearing will be held on the date shown in box 9
                                         of this notice. The debtor will remain in possession of the property and may continue to operate the business, if
                                         any, unless the court orders otherwise.
12. Discharge of Debts                   Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                         However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                         are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                         as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                         523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                         If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                         must file a motion. See box 8 for deadlines. The discharge will not be issued until the Official Bankruptcy Form
                                         "Certification About a Financial Management Course" is filed by the debtor (unless the course provider filed a
                                         certificate of completion of the financial management course on behalf of the debtor).
13. Option to Receive Notices 1) EBN program open to all parties. Register at the BNC website bankruptcynotices.uscourts.gov, OR 2) DeBN
    Served by the Clerk by      program open to debtors only. Register by filing with the Clerk of Court, Local Form "Debtor's Request to
    Email Rather than U.S. Mail Receive Notices Electronically Under DeBN Program". There is no charge for either option. See also Local Rule
                                9036−1(B) and (C).
14. Translating Services                 Language interpretation of the meeting of creditors will be provided to the debtor at no cost, upon request to the
                                         trustee, through a telephone interpreter service. Persons with communications disabilities should contact the
                                         U.S. Trustee's office to arrange for translating services at the meeting of creditors.
Local Form 309I USBC SDFL                          Notice of Chapter 13 Bankruptcy Case                                                       page 2
